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                                                                  February 23, 2022
       BY ECF
       Honorable John P. Cronan
       United States District Court
       Southern District of New York
       500 Pearl Street
       New York, New York 10007
                        Re:     Joseph Srour v. City of New York et. al.,
                                22-CV-0003 (JPC)
       Your Honor:
                      I am an attorney in the office of Georgia M. Pestana, Corporation Counsel of the
       City of New York, attorney for defendants City of New York (“City”) and New York City Police
       Department (“NYPD”) Commissioner Keechant Sewell in the above-entitled action. Pursuant to
       Your Honor’s Individual Rules of Practice, I write to respectfully request a pre-motion
       conference regarding defendants’ anticipated motion to dismiss the complaint pursuant to Rule
       12(b)(6) of the Federal Rules of Civil Procedure.
                       This case stems from the NYPD License Division’s determination denying
       plaintiff’s applications for a premises residence handgun license (“handgun license”) and a
       rifle/shotgun permit. Both applications were denied in a final determination issued by the
       License Division on or about November 7, 2019 1 citing plaintiff’s history of arrests for
       attempted murder and criminal trespass, plaintiff’s failure to disclose the arrests on both license
       applications until the investigator independently learned of the arrests and asked plaintiff for an
       explanation, and his history of driving violations and driver’s license revocations. As a
       preliminary matter, the complaint contains incorrect or misleading factual allegations regarding
       the content of the NYPD’s final determination denying plaintiff’s applications for a premises
       residence handgun license and rifle/shotgun license which are easily disproven by review of the
       document itself. Compl. at ⁋⁋ 89-98. For example, the Complaint asserts that plaintiff disclosed
       his arrest history to the License Division, while the NYPD’s determination demonstrates that
       plaintiff indicated he had no arrest history until after he was informed that the investigator knew
       about his prior arrests. Id. Plaintiff also appears to minimize the findings regarding his driver’s

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         While a court typically only examines the allegations of a pleading on a motion to dismiss, “[d]ocuments that
       are attached to the complaint or incorporated in it by reference are deemed part of the pleading and may be
       considered.” Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007) (citations omitted).
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license history. Id. Plaintiff’s factually incorrect assertions regarding the content of the
administrative determination need not be relied upon by the court. 2
                Plaintiff now challenges the provisions directing that the NYPD consider, inter
alia, an applicant’s arrest history (Title 38 of the Rules of the City of New York (“RCNY”) §§ 3-
303(a) & 5-10(a)), lack of candor (38 RCNY §§ 3-303(e) & (n) and 5-10(e) & (n)), and driving
history (38 RCNY §§ 3-303(h) & 5-10(h)) when making a determination regarding an
application for a firearm license. Plaintiff also challenges New York City Administrative Code
(“AC”) § 10-303(a)(2) & (9) which provides that an applicant for a rifle/shotgun license is not
entitled to a license if such person, inter alia, “is not of good moral character” or “good cause
exists for the denial” of the application, and AC § 10-310 which makes it a misdemeanor to, inter
alia, possess or purchase a firearm without a license. 3 Plaintiff argues that the Challenged
Regulations violate the Second Amendment on their face and as applied to plaintiff, and that they
are pre-empted by New York State Penal Law (“PL”) §§ 265.00 and 400.00.
                Plaintiff fails to state a claim for relief. First, plaintiff cannot maintain a Second
Amendment claim because governing law establishes that the challenged provisions are
substantially related to the achievement of an important government interest. Since defendants
are entitled to dismissal of plaintiff’s federal claims, this Court should not exercise supplemental
jurisdiction over the state law pre-emption claim, which, in any event, fails on the merits.
A.      Plaintiff Fails to Plausibly Allege a Second Amendment Violation.
                First, the Challenged Regulations easily pass intermediate scrutiny, the applicable
level of scrutiny according to Second Circuit precedent. See, e.g., N.Y. State Rifle & Pistol
Ass’n v. Cuomo (“NYSRPA”), 814 F.3d 242, 254 (2d Cir. 2015). Where a challenged legislation
“impinges upon conduct protected by the Second Amendment,” the appropriate level of scrutiny
is determined by “(1) how close the law comes to the core of the Second Amendment right, and
(2) the severity of the law’s burden on the right.” Id. at 257-58 (citations omitted). Courts in the
Second Circuit use intermediate scrutiny to evaluate claims challenging the constitutionality of
regulations aimed at restricting gun possession by individuals who are not the “law-abiding,
responsible citizens” to whom the Second Amendment guarantees the right to possess arms. See,
e.g., Toussaint v. City of New York, No. 17-CV-5576 (NGG), 2018 U.S. Dist. LEXIS 152985,
*13 (E.D.N.Y. Sept. 6, 2018); Mishtaku v. City of New York, No. 14-CV-0839 (VSB), 2015
U.S. Dist. LEXIS at *10 (S.D.N.Y. May 4, 2015). Indeed, Title 38, Chapters 3 and 5 of the
RCNY, and AC § 3-303(a)(2) & (9) have been reviewed under intermediate scrutiny in prior
cases, and have passed constitutional muster. See, e.g., Toussaint, 2018 U.S. Dist. LEXIS at *13;
Mishtaku, 2015 U.S. Dist. LEXIS at *10.
                Under intermediate scrutiny, a Court considers whether the statute at issue is
substantially related to the achievement of an important governmental interest. See, e.g.,
NYSRA, 804 F.3d at 261. The Challenged Regulations easily meet this test. “New York has
substantial, indeed compelling, governmental interests in public safety and crime prevention.”

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   To the extent plaintiff wished to challenge the NYPD’s determinations based upon the factual record before
it, such challenge should have been made in an Article 78 proceeding. No such proceeding was filed, and the
statute of limitations has now run.
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  Hereinafter, defendants will refer to 38 RCNY §§ 3-303 (a), (e), (h), & (n), 38 RCNY §§ 5-10 (a), (e), (h), &
(n), AC 10-303(a)(2) & (9), and AC 10-310, collectively, as the “Challenged Regulations.”
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              Kachalsky v. County of Westchester, 701 F.3d 81, 95 (2d Cir. 2012). As described above, Courts
              in the Second Circuit have routinely found that the Challenged Regulations pass intermediate
              scrutiny because, inter alia, they do not impose a substantial burden on the rights of law-abiding,
              responsible citizens to possess a firearm. See., e.g., Taveras, 2021 U.S. Dist. LEXIS 9618 *28;
              Abekassis, 477 F. Supp. 3d at 152-161; Toussaint, 2018 U.S. Dist. LEXIS 152985 *13;
              Mishtaku, 2015 U.S. Dist. LEXIS 193797 at *10. Accordingly, plaintiff has not stated a Second
              Amendment claim.
              C.       State Law Does Not Pre-Empt the Challenged Provisions
                              In the absence of federal claims, this Court should decline to exercise
              supplemental jurisdiction over plaintiff’s state law claim. In any event, the Challenged
              Regulations are not pre-empted by State Law. “State preemption occurs in one of two ways--
              first, when a local government adopts a law that directly conflicts with a State statute and second,
              when a local government legislates in a field for which the State Legislature has assumed full
              regulatory responsibility.” DJL Rest. Corp. v. City of New York, 96 N.Y.2d 91, 95 (2001).
              Here, plaintiff merely makes the conclusory allegation that PL 400.00 et seq. is the “exclusive
              statutory mechanism for firearm licensing in New York State.” Compl. at ⁋ 175. This assertion is
              unsupported by facts, the face of the statute, or legal precedent. First, plaintiff has not identified
              any state statute that directly conflicts with the Challenged Regulations, and, therefore, any
              conflict pre-emption claim must fail. Further, plaintiff cannot establish that the state has enacted
              a detailed and comprehensive regulatory scheme such that the state intended to occupy the field
              of firearm licensing. On the contrary, PL § 400.00 contemplates that firearm licensing, including
              the investigation into the applicant’s criminal history and “moral character,” will be administered
              locally. See, e.g., Kachalsky, 701 F.3d at 87. The Challenged Regulations follow from PL
              400.00’s direction that the local authorities make determinations regarding applications
              consistent with PL 400.00 which directs, inter alia, that licenses shall be issued to applicants who
              are of “good moral character” and for whom “no good cause exists for the denial of the license.”
              N.Y. Pen. Law § 400.0(1)(b) & (n). Finally, plaintiff’s reliance on the decision in Matter of
              Chwick v. Mulvey, 81 A.D.3d 161 (2010) is misplaced. That matter involved a regulation
              restricting the color of firearms in Nassau County affecting the rights of license-holders in other
              counties, a fact pattern that is entirely dissimilar to the instant action. Id. Plaintiff’s pre-emption
              claim fails.
                              Accordingly, defendants respectfully request a pre-motion conference regarding
              their anticipated motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), or, in the alternative, that
              Court endorse the following briefing schedule:

                                    •   Motion to Dismiss due by March 30, 2022;
                                    •   Opposition due by April 30, 2022; and,
                                    •   Reply due by May 14, 2022.

                                                                            Respectfully submitted,
                                                                                  /S
                                                                            Aimee K. Lulich


The Court will discuss Defendants’ anticipated motion to dismiss at the Initial Pretrial Conference scheduled for March 14, 2022 at 10:00
a.m., see Dkt. 6, and if appropriate set any briefing schedule at that conference.

SO ORDERED.
Date: February 24, 2022
                                 ___________________________
                                 JOHN P. CRONAN
      New York, New York         United States District Judge
